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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

  MICHAEL E. GONIDAKIS, et al.,               :
                                              :
                Plaintiff,                    :     Case No. 2:22-cv-773
                                              :
         v.                                   :     Chief Judge Algenon L. Marbley
                                              :
  OHIO REDISTRICTING COMMISSION,              :     Magistrate Judge Elizabeth P. Deavers
  et al.,                                     :
                                              :
                Defendants.

                                     COURTROOM MINUTES
                                        65.1 Conference



   U.S. District Chief Judge Algenon L. Marbley Date: March 14, 2022 @ 9:30 a.m.
   Deputy Clerk:      Diane Stash                  Counsel for Plaintiffs: Donald Brey, Matthew
                                                                           Aumann, Trista Turley
   Court Reporter:    Shawna Evans                 Counsel for              Bridget Coontz, Julie
                                                   Defendants:              Pfeiffer, Michael Walton
   Log In             n/a                          Log Out                  n/a

 Additional counsel in attendance:

 Percy Squire representing Intervenor Plaintiffs Kenneth L. Simon, Lewis Macklin, and Helen
 Youngblood

 Donald McTigue and David Fox representing Intervenor Plaintiffs Bria Bennett, Regina Adams,
 Kathleen Brinkman, Martha Clark, Susanne L. Dyke, Meryl Neiman, Holly Oyster, Constance
 Rubin, and Everett Totty.

 Peter Ellis and Christina Marshall representing Intervenor Plaintiff The Ohio Organizing
 Collaborative, Council on American-Islamic Relations, Ohio Environmental Council, Samuel
 Gresham, Jr., Ahmad Aboukar, Mikayla Lee, Prentiss Haney, Pierrette M. Talley, and Crystal
 Bryant.

 David Carey representing Intervenor Defendant League of Women Voters of Ohio and A. Philip
 Randolph Institute of Ohio.
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 Benjamin Cooper and Sarah Cherry representing Intervenor Defendants Vernon Sykes and
 Allison Russo.

 The parties appeared before the Court for a Local Rule 65.1 conference on Plaintiffs’ Motion for
 Preliminary Injunction.

 Counsel presented arguments on the issue of whether the matter should be stayed pending a
 decision by the Ohio Supreme Court.

 The Court ordered that a brief stay of the matter will be entered while the Ohio Supreme Court
 enters its decision on the third map. A written order will issue following the submission of
 supplemental briefing by Secretary LaRose, and will include a schedule for responses to the
 preliminary injunction motion and for responsive pleadings.
